                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )
v.                                         )         No. 3:05-CR-148
                                           )         (PHILLIPS/GUYTON)
DENNIS RICHARDSON,                         )
                                           )
                     Defendant             )



                   ORDER OF DETENTION PENDING TRIAL

             The above-named defendant appeared in custody before the

undersigned on January 31, 2006, for an arraignment on an indictment. United

States Attorney Michael E. Winck was present for the government and Donny

Young, CJA Panel Attorney, was present on behalf of the defendant. The

government moved for detention pursuant to 18 U.S.C. § 3142(e).

             Counsel for the defendant announced that the defendant would waive

the detention hearing, while reserving the right to move for a detention hearing at a

later date. Defendant and defendant’s counsel executed the appropriate Waiver of

Detention Hearing.

             Accordingly, the defendant is committed to the custody of the

Attorney General or his/her designated representative for confinement in a

corrections facility separate, to the extent practicable, from persons awaiting or


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serving sentences or being held in custody pending appeal. The defendant shall be

afforded a reasonable opportunity for private consultation with defense counsel.

On order of a court of the United States or on request of an attorney for the

government, the person in charge of the corrections facility shall deliver the

defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.



             IT IS SO ORDERED.



                                       s/ H. Bruce Guyton
                                       UNITED STATES MAGISTRATE JUDGE




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